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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 24-23991-CIV-MORENO
DAVID BYRD, PhD,

Plaintiff,

VS.

FLORIDA INTERNATIONAL UNIVERSITY
and FLORIDA INTERNATIONAL
UNIVERSITY FOUNDATION, INC.,

Defendants.
/

ORDER GRANTING LEAVE TO AMEND THE COMPLAINT AND ORDER DENYING
AS MOOT DEFENDANTS’ MOTION TO DISMISS

THIS CAUSE came before the Court upon Defendants’ Motion to Dismiss (D.E. 12), filed

on November 26, 2024.

THE COURT has considered the motion, the opposition, the reply, the other pertinent
portions of the record, and is otherwise fully advised in the premises.

Plaintiff David Byrd, PhD filed suit against Defendants Florida International University
and Florida International University Foundation, Inc. for race discrimination and retaliation.
Plaintiff brought twelve counts against Defendants, alleging violations of state and federal law.
Defendants move to dismiss Counts 1-6 on the grounds that the named party, Florida International
University, is not amenable to suit. Mot., D.E. 12 at 5. Defendants also move to dismiss the state
law claims, arguing that the Eleventh Amendment prevents this Court from exercising subject
matter jurisdiction over those claims. Jd. at 5-7. In his opposition, Plaintiff asks the Court for
leave to amend his complaint to name only the Florida International University Board of Trustees

as the defendant and to remove his state law claims. Opp’n, D.E. 13 at 2, 6-7. It is unclear why
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Plaintiff did not simply file an amended complaint in response to Defendants’ motion within the
time allowed by Federal Rule of Civil Procedure 15(a)(1)(B). Nevertheless, the Court will exercise
its discretion to allow Plaintiff an opportunity to revise his complaint and the caption style.

Plaintiff shall file an amended complaint no later than March 4, 2025. Plaintiff is advised that

any further motions made to this Court shall comply with the Federal Rules of Civil Procedure and
the Rules of this Court. See Posner v. Essex Ins. Co., 178 F.3d 1209, 1222 (11th Cir. 1999)
(quoting Fed. R. Civ. P. 7(b)); S.D. Fla. L.R. 7.1. It is further

ADJUDGED that Defendants’ Motion to Dismiss is DENIED as moot.

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DONE AND ORDERED in Chambers at Miami, Florida, this 1b of February 2025.

FEDERICO~A. MORENO
_UNITED STATES DISTRICT JUDGE

Copies furnished to:

Counsel of Record

